                       IN THE UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF TENNESSEE AT GREENEVILLE
          CRIMINAL MINUTES: INITIAL APPEARANCE /ARRAIGNMENT & SCHEDULING

USA v      MICHAEL M. BARRETT

Case No 2:19-CR-18 Date March 5, 2019 Time 9:36 – 9:44 A.M.
                 Hon. CLIFTON L. CORKER, Magistrate Judge, Presiding

    KIM OTTINGER                      DCR                    J. GREGORY BOWMAN
   Deputy Clerk                     Court Reporter/Tape             Asst. U. S. Attorney


        DEFENDANTS                                           ATTORNEYS

 MICHAEL M. BARRETT                                             NIKKI PIERCE
PROCEEDINGS:
Defendant sworn
Defendant found competent
Defendant advised of charges, penalties, and rights
(Copy of indictment provided to defense counsel by clerk)
Financial affidavit executed with Counsel present and appointed
Plea of not guilty entered to all charges
Dates selected and scheduled as follows:
        Jury Trial                   5.16.19 @ 9:00 A.M.
                         before the Honorable J. Ronnie Greer
        Estimated length of trial        3 DAYS
        PTC/Motion hearing        4/17/19 @ 9:00 A.M.
                    before the Honorable Clifton L. Corker
        Motion cut-off                4/1/2019
        Response deadline              4/15/2019
        Plea Bargain cut-off           5/2/2019
Defendant present in court via writ from State Authorities
Oral motion by USA for detention
Detention Hearing waived at present time
Defendant remanded to custody of U.S. Marshal
Orders to enter
I, Kim Ottinger, Deputy Clerk, CERTIFY the official record of this proceeding is an audio file. Grn-
DCR_2-19-CR-18_20190305_084204



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